Case 1:19-cv-00888-MN-JLH Document 37 Filed 05/22/20 Page 1 of 2 PageID #: 765




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


                                                    Lead Case No. 19-cv-888-MN-JLH
IN RE LANNETT COMPANY, INC.
DERIVATIVE LITIGATION



       PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY APPROVAL
                           OF SETTLEMENT

       Co-Lead Plaintiffs Drew Dozier and John J. Conrad (“Plaintiffs”)1 hereby move this Court,

pursuant to Rule 23 of the Federal Rules of Civil Procedure, for entry of an order: (1) granting

preliminary approval of the proposed Settlement; (2) approving the form, content, and manner of

giving notice of the proposed Settlement to all Lannett stockholders; (3) scheduling a hearing

before the Court to determine whether the proposed Settlement should be granted final approval.

       This motion is based upon the Stipulation, attached hereto as Exhibit 1; the accompanying

Brief in support hereof; and all other papers and proceedings herein. The Parties’ agreed-upon

form of proposed Preliminary Approval Order is attached as Exhibit C to Exhibit 1. The parties

respectfully request that the Court enter the proposed Preliminary Approval Order and insert a date

for the final settlement hearing in paragraph 2. This motion is unopposed by Defendants.

DATED: May 22, 2020                          Respectfully submitted,
                                             FARNAN LLP

                                              /s/ Brian E. Farnan
                                             Brian E. Farnan (Bar No. 4089)
                                             Michael J. Farnan (Bar No. 5165)
                                             919 N. Market St., 12th Floor
                                             Wilmington, DE 19801
                                             Telephone: (302) 777-0300
                                             Facsimile: (302) 777-0301
                                             bfarnan@farnanlaw.com

1
        Unless otherwise defined, all capitalized terms herein have the same meaning as those set
forth in the Stipulation and Agreement of Settlement, dated May 22, 2020 (the “Stipulation”).


                                                1
Case 1:19-cv-00888-MN-JLH Document 37 Filed 05/22/20 Page 2 of 2 PageID #: 766




                                    mfarnan@farnanlaw.com

                                    Liaison Counsel for Plaintiffs

                                    SCOTT+SCOTT ATTORNEYS AT LAW LLP
                                    Geoffrey M. Johnson
                                    12434 Cedar Road, Suite 12
                                    Cleveland Heights, OH 44106
                                    Telephone: (216) 229-6088
                                    Facsimile: (860) 537-4432
                                    gjohnson@scott-scott.com

                                    SCOTT+SCOTT ATTORNEYS AT LAW LLP
                                    Scott R. Jacobsen
                                    Jonathan M. Zimmerman
                                    The Helmsley Building
                                    230 Park Avenue, 17th Floor
                                    New York, NY 10169
                                    Telephone: (212) 223-6444
                                    Facsimile: (212) 223-6334
                                    sjacobsen@scott-scott.com
                                    jzimmerman@scott-scott.com

                                    Co-Lead Counsel for Plaintiffs

                                    THE BROWN LAW FIRM, P.C.
                                    Timothy Brown
                                    240 Townsend Square
                                    Oyster Bay, NY 11771
                                    Telephone: (516) 922-5427
                                    Facsimile: (516) 344-6204
                                    tbrown@thebrownlawfirm.net

                                    THE ROSEN LAW FIRM, P.A.
                                    Phillip Kim
                                    275 Madison Avenue, 34th Floor
                                    New York, NY 10016
                                    Telephone: (212) 686-1060
                                    Facsimile: (212) 202-3827
                                    pkim@rosenlegal.com

                                    Co-Lead Counsel for Plaintiffs




                                       2
